                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE


UNITED STATES OF AMERICA                       )
                                               )       No. 2:18-cr-00017-017
v.                                             )       Hon. R. Leon Jordan, Sr. USDJ
                                               )
KEVIN SCOTT DINGUS                             )

           SUPPLEMENT TO THE SENTENCING MEMORANDUM OF THE
                    DEFENDANT KEVIN SCOTT DINGUS

       The Defendant KEVIN SCOTT DINGUS, by undersigned counsel, respectfully submits

this supplement to his sentencing memorandum, to which are attached two letters of support.

                               Respectfully submitted,

                                               s/ Francis L. Lloyd, Jr.
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                                      CERTIFICATE OF SERVICE

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                                               s/ Francis L. Lloyd, Jr.




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